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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 4:08cr29-SPM

MELISSA FRANCES WILLIAMS,

           Defendant.
_____________________________/


                     ORDER CONTINUING SENTENCING

      Upon consideration, Defendant’s Stipulated Motion to Continue (doc. 351)

is granted. Defendant’s sentencing hearing his reset for 1:30 p.m. on May 18,

2009, at the United States Courthouse in Tallahassee, Florida.

      SO ORDERED this 19th day of March, 2009.



                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
